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EXHIBIT 1
Case 2:20-Cv-091/2-DMG-GJS Document 50-4 FileaU//zy/zl Page zoro Page ID #500
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THE LAW OFFICE OF HAKIMI & SHAHRIARI

 

 

TELEPHONE
a 1800 Vine Street (888) 635-2250
Anoush Hakimi, Esq. Los Angeles, CA 90028
Peter Shahriari, Esq. www.handslawgroup.com FACSIMILE
Laura Steven, Esq. (213) 402-2170

Kyle Wilson, Esq.

Billing Statement as of Thursday, July 29, 2021

Today’s Date: July 29, 2021

Range: 9/8/2020 — 7/29/2021

Case: James Shayler v. B-K Inglewood, et al.
Case No: 2:20-cv-09172-DMG-GJS

Summary:

Billable Hours: 27.8

Billable Fees: $13,237

Litigation expenses: $672

Total: $13,909

 

Expense breakdown:

Filing Fee: $402
Service: $30
Investigator: $240

Hourly Billing Breakdown Follows
Case 2:20-cv-091/72-DMG-GJS Document 56-4 Filed O//29/21 Page soro Page ID #:36/
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Date

9/8/2020

9/8/2020

9/8/2020

9/16/2020

9/17/2020

9/30/2020

10/2/2020

Description

Speak with client regarding
allegations

Research litigation, previous
complaints, public resources
regarding adverse action against
defendant and tenant

Research online databases for
financial background of owner,
former ownership, other businesses
owned by owner and nature of
defendant’s business operations
and likely range of revenues

Review all data points and law
regarding Plaintiff's complaint
against B-K Inglewood Property,
LLC, including architectural barriers
that he personally encountered,
and whether or not he desired to
return if the barriers were removed

Advise investigator regarding scope
pre-filing land inspection

Review work product of
investigator with regard to pre-filing
land inspection; Review and identify
particular code violations; Review
and analysis of ADAAG regarding
same to determine if barriers are
violations; Prepare complaint

Review complaint; Review property
records regarding ownership and
responsible party

Biller

P Shahriari

P Shahriari

P Shahriari

P Shahriari

P Shahriari

P Shahriari

A Hakimi

Time

0.4

0.6

0.5

0.6

0.4

Hourly
Rate

$495

$495

$495

$495

$495

$495

$495

Amount

$198

$297

$248

$297

$198

$1,782

$545
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10/6/2020

10/19/2020

10/26/2020

11/23/2020

12/16/2020

12/17/2020

12/22/2020

12/23/2020

12/29/2020

1/26/2021

Finalize complaint and other lawsuit —P Shahriari
supporting documents; File lawsuit

Review OSC regarding supplemental —P Shahriari
jurisdiction

Review, finalize, and file Plaintiff's P Shahriari
Response to OSC regarding
supplemental jurisdiction

Review Court’s Order regarding A Hakimi
supplemental jurisdiction

Review OSC regarding prosecution A Hakimi
and calendar deadline

Prepare default warning letter to P Shahriari
Defendant

Prepare default request and default —P Shahriari
declaration

Review clerk default A Hakimi

Review Order setting deadline to P Shahriari
file default judgment application;

calendar deadline; prepare default

judgment warning and send to

Defendant

Review investigator work product A Hakimi
and brief conversation with
investigator regarding his findings
(.2); Review Court's specific
procedures on CACD website (.1);
Review pleadings (.3); Prepare
inspector declaration (.7), client
declaration (.3) and declaration of
self (.3); Prepare memorandum of
P&As (2.4); Review Court's hearing
calendar (.2); Prepare application
and judgment (.5); Email client and
investigator (.1)

1.8

0.3

0.4

0.2

0.2

0.2

0.4

0.1

0.3

5.

$495

$495

$495

$495

$495

$495

$495

$495

$495

$495

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$891

$149

$198

$99

$99

$99

$198

$50

$149

$2,525
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1/27/2021 Finalize documents and review for =A Hakimi 2.8 S495 $1,386
completeness; Compile where
necessary; Prepare required notices

3/2/2021 Review Order denying Application A Hakimi 0.2 $495 $99
for Default Judgment

3/12/2021 Prepare and file First Amended L Steven 0.9 $425 $383
Complaint in accordance with Order
re: Application for Default
Judgment

5/10/2021 Review OSC regarding prosecution A Hakimi 0.2 $495 $99
and calendar deadline

5/14/2021 Prepare default request and default —P Shahriari 0.6 S495 $297
declaration for both defendants

5/18/2021 Review clerk defaults as to both P Shahriari 0.1 $495 S50
defendants
5/18/2021 Review Order setting deadline to P Shahriari 0.2 $495 $99

file default judgment application;
calendar deadline

5/24/2021 Prepare default judgment warnings — P Shahriari 0.2 $495 $99
and send to Defendants

6/17/2021 Review Court's Order regarding A Hakimi 3.7 $495 $1,832
previous Default Judgment
Application (.1); Review pleadings
(.2); Prepare inspector declaration
(.7), client declaration (.6) and
declaration of self (.4); Prepare
memorandum of P&As (1.2);
Review Court's hearing calendar
(.2); Prepare application and
judgment (.2); Email client and
investigator (.1)
Case 2:20-cv-091/72-DMG-GJS Document 30-4
Case 2:20-cv-10751-GW-GJS Document 35-2

7/15/2021

7/28/2021

7/29/2021

Total

Review Order granting Application
for Default Judgment and Judgment

Draft declaration of Anoush Hakimi
(.6); Notice of Motion and Motion
for Attorneys’ Fees (.3); Proposed
Order (.2); Memorandum of Points
and Authorities (1.1)

Review and finalize Motion for
Attorneys’ Fees and supporting
documents

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P Shahriari 0.2 S495 S99

K Wilson 2 $295 $649

L Steven 0.3 $425 $128
27.8 13,237
